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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 UNITED STATES OF AMERICA                                       :
                                                                :   ORDER
              -against-                                         :
                                                                :   16 Cr. 389 (AKH)
 JONA RECHNITZ,                                                 :
                                                                :
                                          Defendant.            :
                                                                :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 Defendant submitted an ex parte letter to the Court with respect to the Court’s

order regulating proceedings, dated January 8, 2021 (ECF No. 123).

                 The extent to which information may be filed under seal, or withheld from

COBA, will be regulated by the Court. The Court will balance the obligation of public

disclosure of court records, against Defendant’s right of privacy of financial information.

Defendant is instructed to indicate, in an email to chambers, the precise information desired to be

filed under seal, so that the Court may rule on the issue. COBA’s use of information thus

provided is limited to the pending proceeding, absent leave granted by this or any other court of

competent jurisdiction.

                 The inquiries of the U.S. Probation Officer are limited to the issues of the pending

proceeding, and do not extend to the scope provided by Federal Rule of Criminal Procedure

32(d). The Probation Officer is not creating, or amending, a PSR. The time periods prescribed

by Rules 32(e) and(f) are not applicable and, in any event, may be changed by the Court. Fed. R.

Crim. P. 32(b)(2). There is good cause to do so, because of the limited scope of the pending

proceedings, and to avoid unnecessary delay to Second Circuit dockets.

                 Any other objections by defendant are over-ruled.
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               It appears that the letter application to which I am responding was not copied to

the Government. I order the letter application to be filed on the ECF. In the future, all

correspondence to the Court shall be copied to COBA and the Government.

               SO ORDERED.

Dated:         January 11, 2021                            __/s/ Alvin K. Hellerstein_____
               New York, New York                            ALVIN K. HELLERSTEIN
                                                             United States District Judge




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